      Case 2:20-cr-00055-MLCF-KWR Document 31 Filed 07/24/20 Page 1 of 2



                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                     CRIMINAL ACTION


v.                                                           NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                            SECTION “F”



                                         ORDER


       Before the Court is a request for oral argument by Jason

Williams and Nicole Burdett on their motion seeking discovery, an

evidentiary hearing, and dismissal of the indictment.               The motion

is presently set for hearing on July 29, 2020, at 1:30 p.m.                 In

compliance with the emergency procedures authorized by the CARES

Act    in   response     to     the   COVID-19   pandemic,    the   defendants

acknowledge      that     any     oral    hearing   must     take   place   by

videoconference and they consent to participate in the hearing by

videoconference.

       IT IS ORDERED: that the request for oral argument is GRANTED.

IT IS FURTHER ORDERED: that the hearing on the motion is continued

to 1:30 p.m. on August 5, 2020 and shall be conducted by video

conference.     Each side shall have 30 minutes for argument.               The




                                          1
   Case 2:20-cr-00055-MLCF-KWR Document 31 Filed 07/24/20 Page 2 of 2



Court’s Case Manager shall issue a notice of hearing along with

instructions for videoconference participation.

     Finally,   IT   IS   FURTHER    ORDERED:   that   any   reply   to   the

government’s opposition must be filed by July 30, 2020.

                             New Orleans, Louisiana, July 24, 2020


                                    ______________________________
                                         MARTIN L. C. FELDMAN
                                     UNITED STATES DISTRICT JUDGE




                                      2
